                        Exhibit C




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                                                                              Oklahoma Firefighters Pension and Retirement System LIFO Losses                                                                 Tivity Health, Inc.
                                                                                                                                                                                            Class Period: 2/24/2017 - 11/3/2017



                                                                                         Sales on Class
              Transaction                                  Class Period   Class Period                    Class Period
Trade Date                  # Shares     Share Price ($)                                    Period                       Cost          Proceeds                            Damage Summary
                 Type                                       Purchases        Sales                        Net Holdings
                                                                                          Purchases
  6/20/2017    Purchase            768          37.5929             768            ‐               ‐               768   $28,871.35               Total Class Period Purchases:                                 20,658
  6/20/2017    Purchase          1,265          37.2668           1,265            ‐               ‐             2,033   $47,142.50               Total Class Period Sales:                                        ‐
  6/21/2017    Purchase            402          37.9191             402            ‐               ‐             2,435   $15,243.48               Total Sales on Class Period Purchases:                           ‐
  6/21/2017    Purchase            186          37.8250             186            ‐               ‐             2,621    $7,035.45               Total Class Period Shares Retained:                           20,658
  6/22/2017    Purchase            351          38.0460             351            ‐               ‐             2,972   $13,354.15               Loss Price*:                                 $               34.8900
  6/22/2017    Purchase            552          38.2468             552            ‐               ‐             3,524   $21,112.23
  6/23/2017    Purchase            899          38.9924             899            ‐               ‐             4,423   $35,054.17               Total Purchases:                             $            828,824.01
  6/23/2017    Purchase            235          39.2000             235            ‐               ‐             4,658    $9,212.00               Total Sales Proceeds:                        $                   ‐
  6/26/2017    Purchase          1,386          38.9224           1,386            ‐               ‐             6,044   $53,946.45               Total Retained Value:                        $           (720,854.09)
  6/26/2017    Purchase            440          39.1221             440            ‐               ‐             6,484   $17,213.72
  6/27/2017    Purchase            697          38.5698             697            ‐               ‐             7,181   $26,883.15               Total Loss:                                  $           107,969.93
  6/27/2017    Purchase            268          38.7139             268            ‐               ‐             7,449   $10,375.33
  6/27/2017    Purchase            470          38.8750             470            ‐               ‐             7,919   $18,271.25               *The loss price has been adjusted to weigh the effect of post‐class
  6/27/2017    Purchase            339          38.5979             339            ‐               ‐             8,258   $13,084.69               period sales on the retained value. Pursuant to the PSLRA, post‐
  6/27/2017    Purchase            118          38.5101             118            ‐               ‐             8,376    $4,544.19               class period sales are valued at the higher of the sale price and the
  6/30/2017    Purchase          2,420          39.8635           2,420            ‐               ‐            10,796   $96,469.67               average price from the end of the class period through the sale
  6/30/2017    Purchase            314          40.0250             314            ‐               ‐            11,110   $12,567.85               date. The 76‐day mean trading price of $35.564 for the period from
  6/30/2017    Purchase            702          39.8596             702            ‐               ‐            11,812   $27,981.44               11/4/2017 to 1/18/2018 has been used to value shares not sold
  7/13/2017    Purchase          1,370          39.6156           1,370            ‐               ‐            13,182   $54,273.37               after the class period ended.
  7/13/2017    Purchase            555          39.5750             555            ‐               ‐            13,737   $21,964.13
   8/2/2017    Purchase            403          37.9180             403            ‐               ‐            14,140   $15,280.95
   8/2/2017    Purchase          1,456          37.6991           1,456            ‐               ‐            15,596   $54,889.89
   8/3/2017    Purchase            982          38.0196             982            ‐               ‐            16,578   $37,335.25
  8/28/2017    Purchase            146          37.4459             146            ‐               ‐            16,724    $5,467.10
 10/27/2017    Purchase            335          46.5250             335            ‐               ‐            17,059   $15,585.88
 10/27/2017    Purchase            280          45.5250             280            ‐               ‐            17,339   $12,747.00
 10/27/2017    Purchase          1,895          45.9327           1,895            ‐               ‐            19,234   $87,042.47
 10/27/2017    Purchase            617          45.4781             617            ‐               ‐            19,851   $28,059.99
 10/30/2017    Purchase            599          46.9500             599            ‐               ‐            20,450   $28,123.05
 10/30/2017    Purchase            208          46.5956             208            ‐               ‐            20,658    $9,691.88




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